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Aaron Mackey (SBN 286647)
amackey@eff.org
Corynne McSherry (SBN 221504)
corynne@eff.org
ELECTRONIC FRONTIER FOUNDATION
815 Eddy Street
San Francisco, CA 94109
Telephone: (415) 436-9333
Facsimile: (415) 436-9993
Jacob A. Snow (SBN 270988)
jsnow@aclunc.org
Nicole A. Ozer (SBN 228643)
nozer@aclunc.org
ACLU FOUNDATION OF NORTHERN
CALIFORNIA
39 Drumm Street
San Francisco, CA 94111
Telephone: (415) 621-2493
Attorneys for Amici Curiae
Electronic Frontier Foundation and ACLU
Foundation of Northern California

                           UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION

                                                    )   Case No.: 20-mc-80214 VC
                                                    )
In re DMCA Sec. 512(h) Subpoena to Twitter,         )
Inc.                                                )
                                                    )   NOTICE OF APPEARANCE
                                                    )
                                                    )
                                                    )   Hon. Vince Chhabria
                                                    )



       PLEASE TAKE NOTICE that Corynne McSherry of the Electronic Frontier Foundation

hereby appears as counsel of record for the Electronic Frontier Foundation and ACLU

Foundation of Northern California as amici curiae in this action.


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      DATED: February 18, 2022                      Respectfully submitted,



                                                /s/ Corynne McSherry
                                            Corynne McSherry
                                            ELECTRONIC FRONTIER FOUNDATION
                                            815 Eddy Street
                                            San Francisco, CA 94109
                                            Telephone: (415) 436-9333
                                            Facsimile: (415) 436-9993
                                            Attorneys for Amici Curiae
                                            Electronic Frontier Foundation and ACLU
                                            Foundation of Northern California




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